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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

In re:                                                             §
                                                                   §         Case No. 22-60043
FREE SPEECH SYSTEMS, LLC.,                                         §         Chapter 11 (Subchapter V)
                                                                   §
           Debtor.                                                 §

      ORDER APPROVING REJECTION OF AURIAM SERVICES LLC AGREEMENT
                     AND GRANTING RELATED RELIEF

           Upon consideration of the Motion for Entry Order Approving Rejection of Auriam

Services LLC Agreement and Granting Related Relief (the “Motion”) 1 filed by Free Speech

Systems, LLC (“FSS” or the “Debtor”), the debtor and debtor-in-possession in the above captioned

case (the “Motion”); and it appearing that the Court has jurisdiction over this matter; and it

appearing that due notice of the Motion has been provided, and that no other or further notice

need be provided; and it further appearing that the relief requested in the Motion is fair and

reasonable, was proposed in good faith, is in the best interests of the Debtor and its estate and

creditors and is within the business judgment of the Debtor; and upon all of the proceedings

had before the Court; and after due deliberation and sufficient cause appearing therefore, it is

           ORDERED that the Financial Services Agreement (the “Agreement”) between the

Debtor and Auriam Services, LLC (“Auriam”) dated October 1, 2021, as amended from time to

time, shall be and hereby is rejected effective as of the Petition Date; and it is further

           ORDERED that the Debtor and the Auriam are relieved of any future performance

obligations under the Agreement, including, but not limited to any rights to specific

performance; and it is further




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    All capitalized terms not defined in this Order shall be defined as set forth in the Motion.

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       ORDERED that any claims arising out of the rejected Agreement must be filed on or before

thirty (30) days following the entry of this Order; and it is further

       ORDERED that this Court retains jurisdiction with respect to all matters arising from

or related to the implementation of this Order.

Houston, Texas
Dated: November ___, 2022

                                                CHRISTOPER LOPEZ, UNITED STATES
                                                BANKRUPTCY JUDGE




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